         Case 0:01-cv-02086-DWF-AJB                           Document 543-3          Filed 07/03/2007     Page 1 of 1

                                           UNITED STATES DISTRICT COURT
                                                          District of Minnesota

  Richard D. Sletten, Clerk
  Wendy S. Osterberg, Chief Deputy Clerk

  700 Federal Building                      202 U.S. Courthouse         417 Federal Building         212 U.S. Courthouse
  316 North Robert Street                   300 South Fourth Street     515 West. First Street       118 South Mill Street
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                                                               CIVIL NOTICE

The appeal filing fee is $455.00. If you are indigent, you can apply for leave to proceed in forma
pauperis, ("IFP").

The purpose of this notice is to summarize the time limits for filing with the District Court Clerk's Office a Notice of
Appeal to the Eighth Circuit Court of Appeals from a final decision of the District Court in a civil case.

           This is a summary only. For specific information on the time limits for filing a Notice of
           Appeal, review the applicable federal civil and appellate procedure rules and statutes.

Rule 4(a) of the Federal Rules of Appellate Procedure (Fed. R. App. P.) requires that a Notice of Appeal be filed
within:


           1.          Thirty days (60 days if the United States is a party) after the date of "entry of the
                       judgment or order appealed from;" or

           2.          Thirty days (60 days if the United States is a party) after the date of entry of an
                       order denying a timely motion for a new trial under Fed. R. Civ. P. 59; or

           3.          Thirty days (60 days if the United States is a party) after the date of entry of an
                       order granting or denying a timely motion for judgment under Fed. R. Civ. P. 50(b),
                       to amend or make additional findings of fact under Fed. R. Civ. P. 52(b), and/or to
                       alter or amend the judgment under Fed. R. Civ. P. 59; or

           4.          Fourteen days after the date on which a previously timely Notice of Appeal was
                       filed.

If a Notice of Appeal is not timely filed, a party in a civil case can move the District Court pursuant to Fed. R. App.
P. 4(a)(5) to extend the time for filing a Notice of Appeal. This motion must be filed no later than 30 days after the
period for filing a Notice of Appeal expires. If the motion is filed after the period for filing a Notice of Appeal
expires, the party bringing the motion must give the opposing parties notice of it. The District Court may grant the
motion, but only if excusable neglect or good cause is shown for failing to file a timely Notice of Appeal.




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